                   Case 1:19-cv-00125-DLH-CRH Document 2 Filed 06/25/19 Page 1 of 2

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                                                                   IRUWKH

                                                          'LVWULFWRI1RUWK'DNRWD

 American Medical Association, on behalf of itself and its
 members, Access Independent Health Services, Inc. d/b/a
    Red River Women's Clinic, on behalf of itself, its
 physicians, and its staff, and Kathryn L. Eggleston, M.D.


                              Plaintiff


                                 Y                                          &LYLO$FWLRQ1R   1:19-cv-125
  Wayne Stenehjem, in his official capacity as Attorney
General for the State of North Dakota, and Birch Burdick,
in his official capacity as State Attorney for Cass County,
    as well as their employees, agents, and successors

                             Defendant


                                                      SUMMONS IN A CIVIL ACTION

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          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

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DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
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ZKRVHQDPHDQGDGGUHVVDUH
 Thomas A. Dickson
 Dickson Law Office
 PO Box 1896
 Bismarck, North Dakota 58502

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                                                                                ROBERT ANSLEY,CLERK OF COURT

                                                                                      /s/ Carla Schultz, Deputy Clerk
'DWH             June 25, 2019
                                                                                          Signature of Clerk or Deputy Clerk
                    Case 1:19-cv-00125-DLH-CRH Document 2 Filed 06/25/19 Page 2 of 2
/RFDO$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

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                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ(date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
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           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
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           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                      ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
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           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                            RU

           u 2WKHU(specify):
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           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

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